Case 8-19-71323-reg Doc 17 Filed 04/02/19 Entered 04/02/19 11:00:25

UNITED STATES BANI{RUPTCY COURT ::
EASTERN DISTRICT OF NEW YORK U`§,, §Ft§*é§§?l§§;§
X EAST§§:U"§ §§5§“§1§:§¥§:45 "Z:)?": i”fz§§“§ "YVQRK
ln re: R§§LE§\!§@HS€§N;OETRAL §Si~i?}

NDR,"\\A” E' BH’F~F\Q)H` Chapter 7

we omits

gait ah ,

  

 

    

Debtor(s)

 

X

AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(b)

NO[?m /]_ E. AAK/z&l j , undersigned debtor herein, swears as follows:

l. Debtor filed a petition under chapter 7 of the Bankruptcy Code on F€/\O 251 29 l q

 

2. Schedule(s) Q-- § § were not filed at the time of filing ofthe said petition, and is/are being filed herewith.

3. [Clzeck applicable box]:

*lfl/The schedules filed herewith reflect no additions or corrections to, or deletions f`rom, list of` creditors which
accompanied the petition.

ll Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list of
creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
previously listed names and/or addresses have been corrected The nature of` the change (addition, deletion or
correction) is indicated for each creditor listed.

l. [lf creditors have been added] An amended mailing matrix is annexed hereto, listed added creditors ONLY, in the
format prescribed by E.D.N.Y LBR 1007-3.

Reminder: No amendment of schedules is ejj”ective until proof of service in accordance with E.D.N. Y LBR 1009-
l(b) has been filed wit/z the Court.

Any additions to the list of creditors which accompanied the petition will be deemed an amendment to the list, if this
amendment is filed prior to the expiration ofthe time period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
deemed to constitute a motion for a 30-day extension of the time within any added creditors may file a complaint to
object to the discharge ofthe debtor and/or to determine dischargeability The motion will be deemed granted without
a hearing if` no objection is filed with the Court and served on debtor within 14 days following filing of proof of`
service ofthis affirmation, all attachments and the amended schedules in accordance with E.D.N.Y LBR 1009-1.

Dated: D':f »Do‘L// j 'YL@W Ha/)~HNL

D€thr (signatzn'e)

Sworn to before me this

Day of , 20

 

 

Notary Public, State of New York

Rev. 12/16

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Fiil in this information to identify your case:

 

 

 

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t s ~» 4 -~ 1 -"’ "
Debtort /? ji`gl)?/'\ affilva [:>;?7\&.2
Flrst mma Middle Name Last Name
Debtor 2
(Spouse. iftlling) FirsiName Middie Name LascNaiqe

et 'F“” ` YI
United States Bankruptcy Court for the: Ld§%¢¢ik Dlsfrici Of //\/”

Case number cser /€(”/""' :7/ giz;f% "‘ /(: C:C`/',` m Ch€CK if ihl$ lS art
‘"k“°W"l ‘ ' amended filing

Official Form iOGSum

Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Vour Assets

 

Your assets
Value of what you own
1. Schedule A/B.'Pro ert Off”ic`al Form 106A/B t m c t
v p y< 1 ) 3 /5§ ¢it?c,)
ia. Copy line 55, Total real estate‘ from Schedule A/B .......................................................................................................... _-¢-_--

ibi Copy line 62, Total personal property, from Schedule A/B ...............................................................................................

 

ic. Copy line 63, Total of all property on Schedu/e A/B .........................................................................................................

m Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe
2. Schedule D.' Creditors Who Have Clairns Secured by Property (Oti"icial Form 1 OSD)
2a Copy the total you listed in Colurnn A, Amount of claiml at the bottom of the last page of Part 1 of Schedule D ............

 

3. Schedu/e E/F: Creditors Who Have Unsecured Claims (Ofi'iclal Form 106E/F)
3a Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ............................................ $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedu/e E/F ....................................... ”""”

 

 

Yourcoiai liabilities sih lli‘ '~i ?" j ib
l, l s

 

 

m Summarize Your income and Expenses

4. Schedule /: Your income (Officia| Form 106|) k)
Copy your combined montth income from line 12 of Schedule l .......................................................................................... $ g

5. schedule J,- your Expenses (offi<:iai Form ioeJ) . 1 ,.§ 62 , ;ip(
Copy your monthly expenses from line 22c of Schedu/e J .................................................................................................... $ _L;_@__<»___ »~

 

 

Ofiicial Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

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ii §
r" , ‘ M__ 13 ii '/5 w j~ w ‘V m ,.
Debtor1 j/\/i henin E"` (Fl law L`~ b ij §'&jj Case number (irknawn) {LN) /( m 7 / 5‘22:?) m /(?C:<::Y

First N'!me Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

e. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

TYes

 

7. What kind of debt do you have?

n Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a persona|,
famiiy, or household purpose." 11 U'S.C. § 101(8)_ Fiil out lines 8-99 for statistical purposes 28 U.S.C. § 159.

MYour debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofiiciai
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14.

 

 

 

 

 

 

 

§ 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the foilowing: :
9a. Domestic support obligations (Copy line 6a.) $ …
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ vi
Qc. C|aims for death or personal injury while you were intoxicated (Copy line 6c.) $ W
9d. Student loans. (Copy line 6f.) $ MWM
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ ewr“‘"
priority claims (Copy line 6g.)
Qf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ :
Qg. Tota|. Add lines 93 through 9fr s ~M'~

 

 

 

Otticiai Form 1068um Summary of Your Assets and Liabiiities and Certain Statisticai information page 2 0f2

 

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Fiil in this information to identity your case and this filings

oebiori A//Dl'i' f"'i ii g/;); N“E` 6 l~"iy'{ ,g€;`j;?["

Fnt Namc Middle Name last Name

Debtor 2
(SpDuSe, if iiiing) First Narne Middie Namc Lnst Namc

 

United States Bankruptcy Couit for the:é£? ST/EL/Eistrict of /\/xy/

Casenumber 8 ""1 é;_[` `:,' zé;?~:% W' £'E:C'

C] Check if this is an
amended filing

 

 

Ofiiciai Form 106A/B
Schedule A/B: Property wis

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

mbescribe Each Residence, Building, Land, or Other Reai Estate You own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

ill No colo Pari 2.
M. Where is the property?

 

 

 

 

wha is the property? Check an that apply' Do not deduct secured claims or exemptions Put
' l C~;' ‘ j/ x L Single-family home the amount of any secured claims on Schedule D:
1.1. 7/91"(')' 0 ,'\j ,/\) s n . . . . creditors Who Have ciarms secured by Pmpeny.
. . . . Dupiex or multi-unit building
Street address, if availabie, or other description _ ` w ‘
m C°“d°"““"~’m °" C°°p‘°-'ai“’e Current value of the Current value of the '
n Nianufactured or mobile home entire property? portion you own? v
f § ULand si“>o ccc s iESt:» coe
1 O ,, ,\m N \/ l l q ;l? L__l investment property l § j _ _
' , g r § ' l;l Timeshare Describe the nature of your ownership
C'fy ’ Sta‘e Z|P Code m Other interest (such as fee simpie, tenancy by

 

the entireties, or a life estate), if known.

 

iiéhyas an interest in the property? Checi< one.

Debtor 1 only
County m Debior 2 only
L_.l Debtor1 and Debtor 2 only
a At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

m Check if this is community property
(see instructions)

 

if you own or have more than one, list here:

what 15 me property? Check an mat apply' Do not deduct secured ciaims or exemptions Put

n Sirigle~farniiy home the amount of any secured claims on Schedule D:
Credii’ors Who Have Clai`ms Securcd by Property.

 

 

 

 

1.2. »_ - ~ -

street address if avaiiabie. or oiher descripiion m Dup!ex er `mum um bu"d".‘g
cl C‘md°mlnlum °i' C°OPeVai'Vf-' Current value of the Current value of the ;
n Manufactured or mobile home entire Pmperty? P°m°“ you °W"?
Cl Land ' 3 5
n investment property _ _

’ n T Descnbe the nature of your ownership

City State ZiP Code 'meshare interest (such as fee simple, tenancy by

n O“‘er the entireties, or a life estate), if known.

 

 

Who has ari interest in the property? Check one.

ij Debtor1 only

m Debtor 2 only

n D€bf°r1 and D€bi°f 2 Oniv m Check if this is community property
a At least one of the debtors and another (see instnictions)

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Ofticial Form 106AIB Schedule A/B: Property page 1

 

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oebzom A/ {9!3/7'71'? E//l`;rv'€ 561er ':7§[` ease number(,.,M)§/‘/ Q] ~ /~} l BQBW /g 56

Fur»t Namc M'xdde Name Last Name

What is the Pr°PertY? Che°k 3" that aPP*¥~ Do not deduct secured claims or exemptions Put
n Single_family home the amount of any secured claims on Schedule D.‘

1'3- creditors Who Have claims secured by Propeny.

 

 

 

 

 

 

 

 

 

Street address, if available, or other description cl Duplex or multi~unit building c l f th
g Condcminium or cooperative Current value of the urrent va ue o e
entire ro e ? ortion you own?
[;l Manufactured or mobile home p p ny p
n Land $ $
m lnvestment property f h
4 Describe the nature o your owners ip
C'ty State le Code m nmeshare interest (such as fee simple, tenancy by
n other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor 1 only
County 0 Debtor 2 only
Cl Deolor1 and Debtorz only Cl Chec_k if this is community Pf°perfy
n At least one of the debtors and another (See mstmchons)
l
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ f 505 0 Of)
you have attached for Part 1. Write that number here. ...................................................................................... 9 _‘_”;'""'_'_

 

 

 

w Descrihe ¥our Vehic|es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles
you own that someone else drives. lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

NO
n Yes
3_1_ Make: Wh° has an interest in the property? Check °“e~ Do not deduct secured claims or exemptions Put
n D w 1 l the amount of any secured claims on Schedule D.'
Mode\; e or on y Creditors Who Have Claims Secured by Property.
[J Debtor 2 only »
Yea“ _____-_- [] nelwa and Debtor 2 only Current value of the Current value of the
Appwximate mileage: n At least one of the debtors and another entire property? portion you own?
Other information:
Cl Check if this is community property (see $ 5
instructions)
lf you own or have more than one, describe here:
3_2' Make; who has an interest in the Pr°Perty? Che°k °ne~ 00 not deduct secured claims or exemptions. Put
m D m 1 ‘ the amount of any secured claims on Schedule D:
Mode|l e or on y Crethars Who Have Claims Secured by Property.

n Debtor 2 only

\ \

Cun'ent value of the Current value of the

 

Year: n
Debtor 1 and Debtor 2 only . . ,
- ~ . entire ro ? rtlon ou own? ~
Appr°x'mate m“eage' ___-- n At least one of the debtors and another p party po y l
Other information:
$ $

 

l:l Check if this is community property (see
instructions)

 

 

 

Otticial Form 106A/B Schedule AlB: Property page 2

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ZE`/Fi“ /:/\) 5

Middle Name l_nst Name

Debtori A‘/O{'l li’) iq

First Na me

343_ Make:
Nlodel:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4_ Make:
Mode|:
Year:
Approximate mileage:

0ther information:

 

 

 

 

garza E’/%

Who has an interest in the property? check one.

n Debtor1 only

C] Debtor 2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtcri only

n Debtor 2 only

m Debtor1 and Debtor2 only

[._.l At least one of the debtors and another

n Check if this is community property (see
instructions)

Case number rrrknom)&J.W/' t?~ il 1592 f AQZ)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credilors Who Have Claims Secured by Property~

Current value of the Current value of the ;
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D;
Creditors Who Have Clal'ms Secured by Properiy.

Current value of the Current value of the ;
entire property? portion you own? '

4. Watercratt, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercratt, fishing vessels, snowmobiles, motorcycle accessories

NO
n Yes

4,1, Make:
Model:
Yean

Other information:

 

 

 

 

lt you own or have more than one, list here:

4_24 Make:
Model:

Year:

 

Other information:

 

 

 

s, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ..

Officlal Form 106AIB

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

m Debtor 1 and Debtor2 only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? check one.

m Debtori only

El Debtor2 only

n Debtori and Debtor 2 only

m At least one of the debtors and another

n Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credtors Who Have Claims Secured by Froperty.

Current value of the Current value of the ,
entire property? portion you own? §

Do not deduct secured claims or exemptions Put
the amount or any secured claims on Schedule D:
Credilors Who Have Claims Secured by Property.

Current value of the Current value of the 4
entire property? portion you own?

 

 

Schedule AlB: Property

 

page 3

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Flra\ Name Middte Name Last Narne

mescribe Your Persona| and Household items

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examp/es: Nlajor appliances, fumiture. linens, china, kitchenware

UNo

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

 

E./Y!es. Describe .........

ga l,.....»,.m...,i

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

DNo

 

 

M Describe ..........

 

$ /,;1»¢:}0 ~ 'Ci`>§©

 

 

a. Collectibles ot value

Examples: Antiques and tigurines; paintings, prints, or other artwork; books, pictures, or other art objects;
slamp, coin, or baseball card collections; other collections memorabilia, collectibles
§ No

 

C] Yes. Describe ..........

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
M and kayaks; carpentry tools; musical instruments
No

 

Cl Yes. Describe ..........

 

 

 

$______________
10. Flrearms
Ex ples: Pistols, ritles, shotguns, ammunition, and related equipment
No
n Yes. Describe .......... $

 

 

 

11. C|othes
Examples: Evelyday clothes, furs, leather coats, designer wear, shoes, accessories

 

El N
Ml;. Describe ..........

 

$/ 00:">»¢)&`)

 

 

lz.Jewelry

Examples: Everydayjewe|ry, costume jewelry, engagement rings, wedding n`ngs, heirloom jewelry, watches, gems,
gold, silver

NO

 

Ei Yes. Describe ...........

 

 

 

13. Non-farm animals
Examples.' Dogs, cats, birds, horses

didn

 

L_.l Yes. Describe .......... §

 

14,Any other personal and household items you did not already list, including any health aids you did not list

U'No

 

L_.] Yes. Give specific
information. .............

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

 

 

for Part 3. Write that number here

Oificlal Form 1 OSAlB Schedule AlB: Property

 

 

page 4

 

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ust Name Middic Name Last Name

mescribe your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

 

Current value of the
portion you own?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do not deduct secured claims
or exemptions
16_ Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
M/No
m YeS ....... . ................................. Cash: ....................... $
' 17. Deposits of money
Examples: Checking, savings, or other tinancial accounts; certincates of deposit; shares in credit unions_ brokerage houses,
and other similar institutions |f you have multiple accounts with the same institution. list each.
l_l No
Wes ..................... institution namer
17.1. Checking account: $
17,2. Checking account: $
17.3. Savings` account: $
17.4. Savings account; $
17.5. Certificates of deposit $
17.6. Other tinancial account $
17.7, Other financial account 5
17.8. Other nnancia| account $ l
17.9. Other nnancial account 5
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
B/No
n Yes ................. institution or issuer namer
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture '
g/No Name of entity: % of ownership:
n Yes. Give specific O% % $
information about 0°/ ’“”"_'_`“_" '”
them ° % _____________
0% %

 

Ofticial Form 106A/B Schedule AlB: Property page 5

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oebrori /\.é£i)?}i

First Name

g/Fi/“Af€‘ /5 ftl/f 67/7/‘

Midd\e Name La»sl Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

rsr/wo

El Yes. Give specific
information about
them .......................

issuer namef

 

 

 

21. Retirement or pension accounts

Examples.' interests in iRA. ERiSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Cl No
Ms. List each

account separateiy.

Type of account institution name:

401(k) or similar plan:

 

Pension plan:

Case number unmva 6',/ (/? ` &q' /562?7 MA'C~C?

69

 

 

lRA:

 

Retirement account

Keogh:

 

Additional account

 

Additionai account

UM'EH€£€HM

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landiords, prepaid rent. public utilities (electric, gas, water), telecommunications

companies, or others

cmc

Cl Yes ..........................

institution name or individuai:

Electric:

 

Gas:

 

Heating oii:

 

Security deposit on rental unit

 

Prepaid rent

 

 

Telephone:

Waten

 

Rented fumiture:

 

Othert

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

521/tic
n Yes ..........................

Ofticial Form 106A/B

issuer name and description:

 

Schedule AlB: Property

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M

 

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i

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Debtor1 A/D/Z/Y) n H? fl`jf 5’9)2£€7/ Case number(irknawnlg ml qui :} lzg`g W ja Cé`

First Name Middie Name Last Name

24. interests in an education lRA. in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

®/i~io

n Yes """""""""""""""""""" institution name and description Separafely tile the records of any interests.11 U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

am

n Yes. Give specific ‘
information about them.... $____.__.._.__-

 

 

 

26. Fatents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

No
m ¥es. Give specific

 

 

 

 

 

 

 

 

information about them.... $____________
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive iicenses, cooperative association hoidings, liquor licenses, professional licenses
E}/No
m Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the 1
portion you own?
Do not deduct secured

claims or exemptions

284Tax refunds owed to you

 

NO
ij Yes. Give specific information Federal.
about them, including whether ` __“"”"'"""“'"'“
you already filed the returns State: $_____________.__
and the tax years. .......................
l.ocai:

 

 

 

29. Faml|y support
.‘:;F'iples: Past due or lump sum aiimony, spousal support, child support maintenance, divorce settiement, property settlement
N

0

 

a ¥es. Give specific information ..............
Aiimony: $
Maini.enance: $
Support: $
Divorce settiement $
Property settlement $

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits sick payl vacation pay, workers' compensation,
Sociai Security benefiis; unpaid loans you made to someone else
m No

C] Yes. Give specific information........t.....

 

 

 

 

Ofiiciai Form 106AIB Schedule AlB: Property page 7

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Fimt Name Middle Name urst Name

31. interests in insurance policies
Examples: l-iealtii, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance

No

n Yes. Name the insurance company company name; Bene§c;ary; surrender or refund value:
ot each policy and list its value. t

 

 

 

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.
No
El Yes, Give specific information ..............

 

 

 

 

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

mo
m Yes. Describe each claim. ....................

 

 

 

 

 

 

 

 

 

 

 

 

 

3
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
No
n Yes. Describe each ciaim. ....................
$ .
35. Any financial assets you did not already list
No
n Yes. Give specific information ............ s
as. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached ©
for Part 4. Write that number here ...") $

 

 

 

 

 

mbescribe Any Business-Related Property You own or Have an interest ln. List any real estate in Part 1. v

37. Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6.
E] ¥es. Go to line 38.

Current value of the
portion you own? t
Do not deduct secured claims 5

 

 

or exemptions
36. Accounts receivable or commissions you already earned
[;l No
i;l Yes. Describe ....... !$ §

 

 

39. Office equipment, furnishings, and supplies
Examp/es: Business~related computers, software, modems, printers, copiers, tax machines, rugs, telephones, desks, chairs, electronic devices

n No
a Yes. Describe ....... $

 

 

 

 

 

Ofticial Form 106NB Schedule AlB: Property page 8

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Debtom /L/DJZ!W /"i E//+/`A)€ sz%‘/ZC:”W/ Case number (inmwn) gm / 9 ` j [ 52 z M/Z Eq“

F'int Name Middte Name ert Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

B/No

n Yes. Describe ....... $

 

 

 

 

41.lnve tory
9 No

l:l Yes. Describe ....... $

 

 

 

42. interests in partnerships orjoint ventures
7 No
C] Yes. Describe ....... Name of entity % of ownership:
% $
%
% 3

69

 

43. gu omer lists. mailing lists, or other compilations
No
m Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
m No
0 Yes. Describe ........

 

 

 

 

44. Any business-related property you did not already list
No

Cl Yes. Give specific
information .........

 

 

 

 

 

99€9€0@936§

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ C 3
for Part 5. Write that number here -)

 

 

 

 

Describe Any Farm- and Commercia| Fishing-Related Property You Own or Have an lnterest ln.
if you own or have an interest in farmland. list it iri Part 1.

 

46, l;.o,y,ou own or have any legal or equitable interest in any farm- or commercial fishing-related property? ,`
' No. Go io Part 7. ‘
Cl Yes. so to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions
47. Farm animals
Exa ples: l.ivestock, poultry, fano-raised fish
e/Nl,
n Yes ..........................
$

 

 

 

Official Form 106A/B Schedule AlB: Property page 9

 

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Fust Name Mlddie Name Last Name

48. Crops-either growing or harvested

UNo

m Yes. Give specific
information ............ $

 

 

 

49, Farm and fishing equipment, implements, machinery, t”ixtures, and tools of trade
No
n ¥es ..........................

 

 

50. Farm and fishing supplies, chemica|s, and feed

No
El Yes ..........................

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
No

Cl Yes. Give specific
information ............ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ ©
for Part 6. Write that number here ...... .. ......... -) `”

 

 

 

 

Describe All Property you Own or Have an lnterest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season ticketsl country club membership
No

[:l Yes. Give specific
information .............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here t ......... 9 $____£D__

 

 

 

 

List the Totals of Each Part of this Form

L’" ,
55.Part 1: Total real estate, line 2 ..... ,. . -) $ /J (:‘){i 0 wl 3

 

 

56. Part 2: Total vehicles, line 5 $ ©
57. Part 3: Total personal and household items, line 15 $ 8 f 0 D y
584 Part 4: Total financial assets, line 36 $ C:’)

y 59. Part 5: Total business-related property, line 45 $ 0

so. Part 6: Total farm- and fishing-related property, line 52 $ gs
61, Part 7: Total other property riot listed, line 54 + 3 l j ~

' 62.Total personal property. Add lines 56 through 61. .................... $ g ,3§2 9 Copy personal properly total -) ,+$

 

 

 

. "'7 3 3
63. Total of all property on Schedule NB. Add line 55 + line 62 .......................................................................................... $ / 5 §y} § 2 (/ t
f

 

 

 

 

 

Ofr‘icial Form 106AIB Schedule AlB: Property page 10

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Fiil in this information to identify your case:

iii ;,,\)F 5/7/1/3» ”

l.liddle Name l.asl Name

 
   

oebior 1 jt § LM /3

First Name

  

     
    

Debtor 2
(SpOuSe, if filing) First Name Midd|e Name Last Name

 

United States Bankruptcy Courtfor th 7‘¢':/(/\/ DlStrin of w

Case number i;g"' /€“" g/ q)»‘l;;% m /'€ C:Z?

(|f known)

Cl check ifihis is an
amended filing

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible |f two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B.' Properiy (Official Form 106A/B) as your source, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Addiiional Page as necessary. On the top of any additional pages, Write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds~may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even ifyour spouse is filing with you.

n You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
m You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description 5 m $
Line from Cl 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description $ m $
Line from n 100% of fair market value, up to
Schedu/e A/B; "’"‘_ any applicable statutory limit
Brief
description $ n $
Line from m 100% of fair market value, up to
Schedule A/B; any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

No
a Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l:l No
n Yes

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of____

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oebiori Aé?/d/WA E/A/>v£r /jq/q`/\,/ZE:/j case numberi./kn@w,,) w ` /Q"' j / 392 z W /€) §§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
m Additional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief
description 3 n $
Line from l;l 100% of fair market value, up to
Schedu/e A/B; any applicable statutory limit
Brief
description $ l;l $
Line from l:l 100% of fair market value, up to
Schedu/e A/B; __ any applicable statutory limit
Brief
description 3 n $
Line from l:.\ 100% of fair market value, up to
Schedu/e A/B; ~_ any applicable statutory limit
Brief
description $ n $
Line from m 100% of fair market value, up to
Schedu/e A/B; any applicable statutory limit
Brief
description $ n $
Line from n 100% of fair market value, up to
Schedule A/B; ____ any applicable statutory limit
Brief
description $ n $
Line from n 100% of fair market value, up to
Schedule A/B_~ _ any applicable statutory limit
Brief
description $ n $
Line from Cl 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description $ m $
Line from Cl 100% of fair market value, up lo
Schedule A/B; _____ any applicable statutory limit
Brief
description $ n 3
Line from ft 100% of fair market value, up to
Schedule A/B_~ _~_ any applicable statutory limit
Brief
description $ n $
Line from l:l 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description $ m $
Line from n 100% of fair market value. up to
Schedule A/B,- ___ any applicable statutory limit
Brief
description $ l;l $
Line from a 100% of fair market value, up to
Schedu/e A/B; _“‘ any applicable statutory limit

Offlcial Form 1060 Schedule C: The Property You Claim as Exempt page 2_ of_

 

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Fill in this information to identify your case:

Debtor1 /A/o/Z~In /‘\ /H I/V!L? /3/?1£/€(:”

First Name Midd|e Name Last Name

  

     
 
      

Debtor 2
(Spouse, it tiling) Flisi Name Middle Name Last Name

 

,...
United States Bankruptcy Court for thaqu 5 /t):’¢\/(Districi Of

Casenumber 8”'” l q ` q/z,;??) "" /Z'C:Z?

(if known)

t

Cl check ifihis is an
amended nling

Officia| Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
El No. Check this box and submit this form to the court with your other schedules You have nothing else tc report on this form.

Yes. Fill in all of the information below.

m Lisi Ali secured claims

2. List all secured claims. |f a creditor has more than one secured claim, list the creditor separately A"hj¢"u",}tlof clalm
for each claim. lt more than one creditor has a particular claim, list the other creditors in Part 2. bo not deduct the

    

 

unse¢\ired;
portion "

     
 

 

 

 

, As much as possible, list the claims in alphabetical order according to the creditor’s name. valued ¢o"~atéra\';
. '¥
mi t G{}/’ E/Z,, Describe the property that secures the claim: $ FS`/ 5,£-/£8"" :"$§L $
§ Credl§s Name t
j
/ 0 [")¢>,x
Number Street `

 

 

 

 

,»

G/ 9 0 52 q As of the date you file, the claim is: Check all that apply.
n Contingent

\;D¢q //H ,S YMX 7 S:;L(Ql a Un|iquidated

 

 

City State ZiP Code n Disputed
Wh° °W€S the debt? Check One- Nature of lien Check all that apply.
E/Debf°r" Only dAn agreement you made (such as mortgage or secured
; m Debtor 2 only car loan)
§ C| Debwm and Debior 2 Oniy 0 Statutory lien (such as tax lien, mechanic’s lien)
§ [] At least one of the debtors and another n Judgment lien from a lawsuit

m Other (including a right to offset)
a Check if this claim relates to a

 

community debt q /-\
Date debt was incurred Last4 digits of account number§ j L 51 1_
§§ Describe the property that secures the claim: S $ $

 

 

 

Creditors Name

 

 

 

 

 

 

Nurnber Street
As of the date you file, the claim is: Check all that apply.
m Contingent
Cl unliquidated
City State ZlP Code n Disputed
Wh° OWBS the debt? Check 0"€~ Nature of lien Check all that apply.
n Debtorl 0an n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
l;| fiewa and Debwr 2 amy l:l Statutory lien (such as tax lien, mechanic`s lien)
n At least one of the debtors and another a JUdeenf lien from 3 lawsuit
m Other (including a right to offset)
Cl Check if this claim relates to a

community debt
§ Date debt was incurred Last 4 digits of account number____ _ ___

Add the dollar value of your entries in Column A on this page. Write that number here: Fi{_&z §_.L?L._.__(’$U" *7¢[1("

 

 

 

 

thcial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of___

 

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/
Debtor1 /UOI'Z”? /";

First Name Mldd|e Name

E//l rl,\/E /5]¢7:££' ij~/

Last Name

Case number (in<nowni 8 N* /d? v q`{ `Z)afz 33 ~"' 1356

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

 
 
 
   

Arii`,<>livt °f', ,
no n¢ii¢'edi'eihe
value of collatera|. x

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property that secures the claim: $ $ $
Creditors Name
: Number Street
§ As of the date you file, the claim is: Check all that apply.
l a Contingent
city stare zll= code Cl unliquidated
l;l Disputed
Who owes the debt? Check On€. Nature of lien, Check all that apply.
n Debl°l’ 1 Only m An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
L__] Debtom and Debmr 2 On¢y Cl Statutory lien (such as tax lien, mechanic‘s lien)
l;\ At least one of the debtors and another l;l Ju‘-`lQmenl lien from 3 lawsull
l:i Other (including a right to otfset)
Cl check if this claim relates to a
, community debt
Date debt was incurred Last 4 digits of account number ____ _ _ _
l_| Describe the property that secures the claim: S $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
l;i Contingent
El unliquidated
City State ZlP Code n Disputed
Wh° owes the debt? Check °ne‘ Nature of |ien. Check all that apply.
n Debtor 1 only l:l An agreement you made (such as mortgage or secured
l:.i Debtor 2 only car loan)
.( l:-l D€blOr 1 and DeblOl' 2 0an n Statthry lien (such as tax lien. mechanics lien)
' n At least one of the debtors and another Cl Judgment lien from a lawsuit
_ _ ' | d` ` tt
n Check if this clalm relates to a n Other (mc u mg a ngh 0 offset)
community debt
Date debt was incurred Last 4 digits of account number____ __ _ ___
__l Describe the property that secures the claim: $ $ $

 

 

Creditors Name

 

 

 

Number Street

 

 

 

 

 

City State ZlP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtort and Debtor2 only

At least one ot the debtors and another

U UEUU

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: $

As of the date you file, the claim is: Check all that app|y.
m Contingent

l;i Un|iquidated

Ci Disputed

Nature of lien, Check all that appiy.

n An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit

Other (including a right to ottset)

DUD

Last 4 digits of account number

lf this is the last page of your form, add the dollar value totals from all pages.

_W_rite that number here:

Ofncial Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

  
 

 

 

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rFill in this lnformatlon to identify your case:

Debtort MS/J/HH Z§/H ;/l/E [§fi'{/:c>»

First Name Midd|e Name Last Name

 
    
     

     
 
  

Debtor 2
(S};>Ousex ll ii|ing) Filst Name Middle Name Last Name

United States Bankruptcy Court for the£rq S?(:v'l& District Of /\j 2
Case number&“- l q ` __'7 { 31 3 '”' /Q<§é
> .

(ll known

 

 

Officia| Form tOGE/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

Ent€l’ed 04/02/19 11200:25

m Check if this is an
amended H|ing

12/15

 

Be as complete and accurate as possib|e. Use Part1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Officia| Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D.' Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

m List All of Your FR|OR|TY Unsecured Claims

1. Do ny creditors have priority unsecured claims against you?
No. Go to Part 2.
l;i Yes.

2. List all of your priority unsecured claims, |f a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For

each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and s

how both priority and

nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditors name. |f you have more than two priority
unsecured claims, Hl| out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

§

 

 

  

 

 

 

 

 

 

 

 

 

*: '~ ~ejipiieie; :
'i famount'~-; : r_('
2.1 §
Last4 digits of account number ___ _ ____ _____ $
Pn`ority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
city state zll> code n C°"““gem
m Unliquldated
Who incurred the debt? Check one. m ,
Dlsputed ;
ll Debtort only §
Cl Debtor 2 only Type of PR|ORITY unsecured claim:
§ Debt°r 1 and Debt°r 2 only l:l Domestic support obligations
At least One Of the debtors and another n Taxes and certain other debts you owe the government
0 Check 'f th's c|a'm ls for a commun'ty debt l:] Claims for death or personal injury while you were
ls the claim subject to offset? ‘“toxlcaled
C] No n Other. Specify 3
m ¥es
l l
2'2 Last 4 digits of account number ___ _ _____ »‘
$
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
l:i Contingent ,
city stare zir> cede l.'_i unliquidated :
Who incurred the debt? Check one. [;] Dispuled
Cl ‘ ,
Debtom Omy Type of PR|OR|TY unsecured clalm: T,
l:] Debtor 2 only , t _ ~l
m Domestic support obligatlons f
m Debtort and Debtor 2 only n ` §
m At west one Of the debtors and another m Taxes and certain other debts you owe the government §
_ _ , _ _ Cl `ms for d ath or e l ‘n`u h'le ou `
Ci Check if this claim ls fora community debt ingxicated e p rsona l l ryw l y Were
ls the claim subject to offset? m Other. Specify
l:] No
m Yes m
Ofticia| Form tOSE/F Schedule E/F: Creditors Who Have Unsecured Claims page t of

 

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Debtort /§'l/i/(:)f?l/?/', £Z» /;VL:T &£¢&7(7£ Case number (irt<newn) 8` /Lz ` q /3;) z " /€(::C;'

First Nanie Middle Name Last Name

m Your PRloRlTY unsecured claims ~ continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

|:] $ $ $

Last 4 digits of account number

 

 

 

Pn'on'ty Creditors Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent

city state zlP Code l:l unliquidated

n Disputed
Who incurred the debt? Check one,

Ci Debtort only Type of PR|OR|TY unsecured claim:
a Debtor2 only

 

m Domestic support obligations
n Debtort and Debtor2 only . ?
n Taxes and certain other debts you owe the government
m At least one of the debtors and another . . . . §
cl Claims for death or personal injury while you were §
m Check if this claim is for a community debt 'm°x‘cated
Ci other. specify ,l
ls the claim subject to offset?
m No
Cl Yes

 

Last4 digits of account number ____ __ __ ___

 

Pn'ortly Creditors Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that app|y.
n Contingent

city slate zii3 code L'.l unliquidated

m Disputed
Who incurred the debt? Check one.

U Debtor 1 only Type of PR|ORlTY unsecured claim:
m Debtor2 only

 

m D b d n Domestlc support obligations
a e mr 1 an Debt°r 2 only d n Taxes and certain other debts you owe the government
At least one of the debtors an another n Claims for death or personal injury while you were
a Check if this claim is for a community debt mtoxlcated
m Other. Specify
ls the claim subject to offset?
ij No
n Ves

 

 

Last 4 digits of account number ____ 5 5 $

 

 

Prionty Creditors Name

When was the debt incurred?

 

 

 

Number Street

As of the date you file, the claim is: Check all that appiy.

m Contingent 2
City State ZIP Code n Unliquidated §

n Disputed
Who incurred the debt? Check one.

D permit only Type of PR|OR|TY unsecured claim:
a Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were

 

[J UUU

 

 

n Check if this claim is for a community debt intoxicated
Other. Specify

ls the claim subject to offset?

a No

m Yes

Oincial Form 10GE/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of_

 

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centum /\/ftrlm Ll 57 41 /i/'i.’;'.

¥irstName ‘ y l‘.'|iddle Name LastNarne

i£:?/i»,~taer:%

m List All of Your NDNPRlORITY Unsecured Claims

§ f\ »¢ 457 `
Case number unindan `]b`{ wm :7 / 3 G)M?) m /< 66

 

3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims Hll out the Contlnuation Page of Part 2.

9
..

 

 

 

 

Last 4 digits of account number__

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditors Name .”_ _ _ $
When was the debt incurred?
Number Street
City State zip Code As of the date you file, the claim is: Check all that apply.
Cl Contingent
Who incurred the debt? Check one. n Uniiqujdaied
n Debtor 1 only m Disputed
Cl Debtor 2 only
CJ Debtori and Debtor2 only Type of NONPR|OR|TY unsecured claim:
a At least one of the debtors and another n S`udem wang
m Check if this Claim is for a community debt m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
is the Claim Subjecf to OffSef? m Debts to pension or profit~sharing plans, and other similar debts x
l;l No n Other. Specify
Cl Yes
|4.2 l Last4 digits of account number _____ ___ ____ _ 3
Nonprioniy Creditors Name When was the debt incurred?
Number Street §
As of the date you file, the claim is: Check all that apply. :
City State ZlP Code n Contmgem
Who incurred the debt? Check one. n Unliquidated
n Debtort only n D‘Sputed
n Debtor 2 only _
m Debtom and Debwr 2 only Type of NONPR|OR|TY unsecured claim: §
m At least one of the debtors and another n Student loans ’
_ _ n Obllgations arising out of a separation agreement or divorce
m Check if this claim is for a community debt that you did not report as pr;omy claims
ls the claim subject to offset? n Debts to pension or profit-sharing plans, and other similar debts
m No n Other. Specify
a Yes
4.3 . .
l l Last4 digits of account number __ _____ ___ __
Nonpn`orily Creditors Name j $
When was the debt incurred?
Number Street
City State Z|P Code As of the date you file, the claim is: Check all that app|y.
n C t` ent
Who incurred the debt? Check one. orr m,g
m a Unliquidated
Debtort only L-_] Disputed
L_.l Debtor2 only
m mme and Deb‘°r 2 °"‘y Type of NONPRlORlTY unsecured claim:
m At least one of the debtors and another
l;l Student loans
m Check if this Claim is for 3 ¢`-Ommu"ity debt m Obligations arising out of a separation agreement or divorce
h t d` rt ` ' l '
ls the claim subject to offset? f 3 you id not repo as priority c aims . q
m N m Debts to pension or profit-sharing plans, and other similar debts
° Cl other. specify
a Yes
Ofticial Form tOGE/F Schedule E/F: Creditors Who Have Unsecured Claims page_ of____

 

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Debtor1 /l/D/g/\/) il gni'\l`l: 5974{§7 e/f][ Case number (i/known)@ w / (; m 7`/ 925 W /Z)E:C:?

Fiist Name Middle Name Last Name

m List others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the §
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): l;l Part 1; Creditors with Priority Unsecured Claims
Numbe' S“ee‘ Cl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number _ _ _ _
city d '_ _ siaie ziP code ;
On which entry in Part1 or Part 2 did you list the original creditor? :
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number 3”€&‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City State Z|P Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l;] Part 11 Creditors with Priority Unsecured Claims
Number S"ee‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _ §
, Cli¥. t, State t, , ZlP Code , ,
On which entry in Part1 or Part 2 did you list the original creditor?
Name a
Line ot (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Numbe' S"ee‘ n Part 2: Creditors with Nonpriority Unsecured z
Claims §
Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name §
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number 5"€€‘ [] Part 21 Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
city siaie ziP code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part i: Creditors with Priority Unsecured Claims
Number S“ee* Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City State ZlP Code
N On which entry in Part1 or Part 2 did you list the original creditor?
ama
Line of (Check one): Cl Part 1; Creditors with Priority Unsecured Claims
Number Street . . . .
CJ Part 2'. Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _

City State ZlP Code

Official Form iOSE/F Schedule EIF: Creditors Who Have Unsecured Claims page _ ot_

 

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Debtor1 /4//{'3:“~”/7/}/£] &/P? f/VE /3/{}/£’1&7€7; Case number (ili<nawni g p/ L? ~'? / gap z fm ‘/{]C??

First Name Mldd|e Name Last Name

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

Total claim
6a. D rn ' bl' t` .
Total claims o estic support o iga ions 6a $
f
rom Part1 6b. Taxes and certain other debts you owe the
government 6b. $
60. Claims for death or personal injury while you were
intoxicated 60. $
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +
$
6e. Total. Add lines 6a through 6d. 6e.
$
Total claim
Total claims 6f. Student loans 6i. $
from Part 2 69. Obligations arising out of a separation agreement §
or divorce that you did not report as priority
claims 69. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add all other nonpriority unsecured claimsl
Write that amount here. 6i. + 3
611 Total. Add lines 6f through 6i. 6i.
$

 

 

 

Oft"icia| Form lOGE/F Schedule E/F: Creditors Who Have Unsecured Claims page _ of_

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Fill in this information_to identify your case:

Debtor //1 613/l 775 E/F} /~/\/a 6 57/:? /£/'Z C? #

First Name Midd|e Name Last Name
Debtor 2

(Spouse lf filing) First Name Middle Name Last Name!_
United States Bankruptcy Court for the@SIM/bistrict of f\]( §

f ' ., ,, ir .` '
Case number B"` /q°` q / 551 21 `W /2 567 _ 1 _
(inmown) ' ' Cl Check if this is an
amended Hling

        

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1, Do you have any executory contracts or unexpired leases?
Cl No. Check this box and me this form with the court with your other scheduies. You have nothing else to report on this form.
l;l Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ofticial Form 106A/B).

24 List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
, ,,____ 1? 0 ,/ , §
i- t C.i~ Lai
~2‘1 /'l/?/L- C_ oct/J€`/;_ / (Rj 7
Name a ' g "
//~o. twa c/?O 944
Number Street / v __ f s
' l ' * “ ' _ ’
ty)ri///z& /)< 752@/» (’7';)¢/~/
city “ stare Zii= code '
2.2’
Name
Number Street
_,V,Ciiv, , _ S*a’e, Z‘PC°de
2.3
Name
Number Street
, ,C_i_'y _, , , , _ , State 1 Z|P Code
2.4'
y ` / Name
Number Street
_ ,,_Ql‘¥ __ State Z'P C_Otl?_
`2.5
` Name
Number Street
City State ZlP Code

Otl`icial Form iOGG Schedule G: Executory Contracts and Unexpired Leases page i of_

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"! t,
Debtor 1 /§&A/V] />')

Flrst Name

517 rt eve /§ /~“i/M_WcT//z/

Last Name

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

 

State

ZlP Code

What the contract or lease is for

0

L\l

3

§

3

§

§

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to

\J~t
\'

 

 

Name

 

Number

Street

 

City

State

Z|P Code

 

 

Name

 

Number

Street

 

City

 

State

ZlP Code

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

 

 

 

Name

 

Number

Street

 

City

 

State

ZIP Code

 

 

Name

 

Number

Street

 

C ity

State

ZlP Code

 

 

Name

 

Number

Street

 

City

 

State

Z|P Code

 

 

Name

 

Number

Street

 

Ofncial Form 106G

State

ZlP Code

Schedule G: Executory Contracts and Unexpired Leases

 

page _ of

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Fill in this lnfon'natlon to identify your case:

Debtor1 A/O/\'/Y} /5}

First Name

 
    

/;3/‘? li’/L’Cf`%f

Last Name

Z:/l‘l/`Nl?

Middle Name

     
    

Debtor 2
(Spouse. if flling) First Name Mlddle Name Last Nam

United States Bankruptcy Court for thesEf§’!Ei/\Blstrlct of /\/ >5
Casenumberg)> “" /Lf~ :H :?>‘;1,; " HEG`

(lf known)

 

El check lfthis ls en
amended Hling

 

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do ou have any codebtors? (|fyou are ming a joint case, do not list either spouse as a codebtor.)
No
C] Yes
2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include §
Arizona, Calitornia, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, V\/ashington, and \Msconsin.) '
E/No. Go to line 3.
ij Yes. Did your spouse. former spouse, or legal equivalent live with you at the time?

lia/lie

n Yes. |n which community state or territory did you live'? . Fill in the name and current address of that person.

 

Name of your spouse fenner spouse or legal equivalent

 

Number Stree!

 

City State ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Nlake sure you have listed the creditor on
Schedule D (Otficial Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Oh°icial Form 10GG). Use Schedule D,
Schedule E/Fl or Schedule G to fill out Column 2.

Column 1.’ Your codebtor Column 2: The creditor to whom you owe the debt

 

 

Check all schedules that app|y;

 

 

 

 

 

 

 

 

 

 

 

 

 

3.'\

El Schedule D, line _____

Name
Cl Schedule E/F, line

Number Sff€ef C] Schedule G, line

City State ZlP Code
Cl schedule D, line _____

Name
[] Schedule E/Fl line

_ Number Slreer El schedule G, line

El Schedule D, line

Name
[] Schedule E/F, line

Number Stfe€f El Schedule G, line

City , . . Sla_fe, _ , _ 1 _. , _, ;‘P_Q_Q,d_e , t _M m h

     

     

Otflcial Form 106H Schedule H: Your Codebtors page 1 of___

 

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Fiist Name Middle Name Last Name
- Additional Page to List More Codebtors
Column 1: ¥our codebtor Column 2: The creditor to whom you owe the debt
- Check all schedules that apply:
3__
Cl Schedule D, line :
Name ___’°" '_
Cl schedule l=_/F, line ;
Number Street m Schedule G, line
City _ _ __ _ __Siai@ _ __ _ _ _ZlP__C°de _ _ __ _ ____…__
C| Schedule D, line §
Name ”"'°°'°°'_ §
[] Schedule E/F, line §
Numcer street l:l Schedule G, line________ 1
City , ,_ State __ __th_C_Qd,e _ , _ _ __ , __ __ __ __ , _ , __ ___
[] Schedule D, line
Name
` Cl Schedule E/F, line
Number street Cl Schedule G, line
City State
l;l Schedule D, line
Name
Cl Schedule E/F, line
Number Street m Schedule G, line
§ City _ _ _ _ State ___ _ __ __ ZlPCGd¢ ,, . ___ __ , _, _ ___ __ _ f
Cl Schedule D, line
Name
Cl Schedule E/F_ line
Number Street m SCh€du|e G. line
City § 1 State 1 ZIP Qode
§ Cl Schedule D, line
Name -_--
El schedule E/F, line
Number S\reet n SCh€dU|€ G, line________
3
_ City _ State _ZlP_C_°_¢¢_ __ _ _ __ __ _ _…
§§ Cl Schedule D, line
Name __ '
m Schedule E/F, line
Number street C| schedule G, line ______
E City _ _ _ _ State _ Z_*_P C_O_de
[:l Schedule D, line
Name ~'°*~_ :
Cl schedule E/F, line g
Number street Cl Schedule G, line ___ §
city state zlP code

 

Offlcial Form tOBH Schedule H; Your Codebtors page _ of__

 

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Fill in this information to identify your'case:

Debtor1 /§l§l‘~?'/J?Fl E//i /;\/€" /_5/‘"?/€ It’ €.

First Name Middle Name l.ast Name

 
       

 
  

       
   

Debtor 2
(Spouse_itftiing) FiistName Middle Name l_dsthme ,

f
United States Bankruptcy Court for the_(::?.SW/ETA) DiStrlCt Of /\j !§{
' ' j

Casenumber §:2"'“/ é?~ _'7/ z:,jpz)" /g:’:£:?'_?

(li known)

 

Check if this is:
m An amended hling

m A supplement showing postpetition chapter 13
income as of the following date:

OleClal FOl”l'Tl 1061 m
Schedule |: Your income lens

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment _
information Debtor1 Debtor 2 or non-filing spouse

 

 

 

 

if you have more than one job,
attach a separate page with

information about add1110na| Employment status l;] E ployed m Employed
employers ot employed l;l Not employed
lnclude part-time, seasonal, or
self-employed worl<.

Occupation

 

Occupation may include student
or homemaker, if it applies

Employer’s name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZlP Code City State ZlP Code

How long employed there?

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form,

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). lf not paid monthly, calculate what the monthly wage would be. 2. fig 51 0 $

3. Estimate and list monthly overtime pay. 3. + 5 + $

 

4. Calcu|ate gross income. Add line 2 + line 34 4. 53th 30 $

 

 

 

 

 

Offtcial Form 106| Schedule l: Your income page 1

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Debtor1 /§/0/;"'/11/9 L- /Fi;/t)€: ['jf};;/ZE f f

`9.

 

 

 

 

 

Case number (lri<newn) gm § cr " q § z/Q'zw /<76:9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here ............................................................................................... 9 4. $;:; 155 ?Qr $
§ 5. List all payroll deductions:
5a Tax, Medicare, and Sociai Security deductions 5a $ $
5b. Mandatory contributions for retirement plans 5b_ $ $
5c. Voluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
5f. Domestic support obligations 5f` $ $
59. Union dues 59. $ $
5h. Other deductions. Specify: 5h. $ + $
. Add the payroll deductions Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $ $
. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ $
_ List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts. ordinary and necessary business expenses, and the total $ $
monthly net income. 8a.
8b. lnterest and dividends Bb. $ $
Bo. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement 8c.
8d_ Unemployment compensation Bd. $
8a. Sociai Security 8e. $
Bf. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non~cash assistance
that you receive, such as food stamps (benehts under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specity: 8f. $ $
89. Pension or retirement income 8g $ $
8h. Other monthly income. Specify: 8h. + $ + $
Add all other income. Add lines 83 + 8b + 8c + Sd + 8e + 8f +89 + 8h. 9. $ $
10. Calcu|ate monthl income. Add line 7 + line 9. ' ‘
_ . . y. . 352 L/ rt O s $
Add the entrles in line 10 for Debtor 1 and Debtor 2 or non-tillng spouse. 10.
. State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
11. + $

Specify:

. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income

 

Write that amount on the Summary of YourAssets and Liabilities and Certain Statist/`cal /nformat/'on, if it applies

13_ Do you expect an increase or decrease within the year after you file this form?

Cl No.

Cl

12.

 

$QUJD

 

 

Combined
monthly income

 

Yes. Explain:

 

 

Official Form 106| Schedule l: Your income

page 2

 

 

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‘Flll inthis information to identify your case:

oectcri/\/(:P/i/V'li~l £:/*?rw€ AHY{': § Checkifthisisi

Flrst Name ` Midd|e Name Last Name ‘

 

Debtor 2 . .
(SpOUSe, if fillng) FirstName Middle Name LastName m An amended f§|Ing

"“: 1 ’ [;l A su lement showin ost etition cha ter 13
United States Banl<ruptcy Court for the: ' ~ ’ `DiStrict Of /Ut§i expe,;c;e$ as Of the fogo‘\)~mgpdate: p

Case number §§ wl cyr " _q_\ j):l:z)”" /ZEC?

(lf known)

MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form, On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Househo|d

1. ls this a joint case?

‘Q/NO. Go to line 2.

n Yes. Does Debtor 2 live in a separate household?

[:l No
[;l Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2_ Do you have dependents? WNO _
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and l;\ Yes_ Fiil gin this information for Debtor1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... 13
Do not state the dependents n NO
names Yes
i:l No
m Yes
Cl No
m Yes
El No
l:l Yes
n No
m Yes
3. Do your expenses include MO

expenses of people other than n
yourself and your dependents?` 1 1 1 YeSV

m Estimate Your ongoing Month|y Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

lnclude expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Yourlncome (Official Form 106|.) Your expenses
4. The rental or home ownership expenses for your residence. lnclude tirst mortgage payments and $ t :<'51 ii l E’:{
x '“;’ f

any rent for the ground or |ot. 4.

lf not included in line 4:

\_' {»} . ’ '
4a Real estate taxes 43_ $ UL/ C§ D
4b. Property, homeowner’s, or renter’s insurance 4b_ $ § Q §§ ' 0 L:)

4c. Home maintenance, repair, and upkeep expenses 4c $

4d. Homeowner’s association or condominium dues 4d. $

Ofticial Form 106J Schedule J: Your Expenses page 1

 

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!':*” q . ja / / l n ed "A ` ` f -, jj :~*,»
Debtor1 //§~/£i");¢'i!ilf! L*//}(/‘/g /:j'l$ 363/fig / Case numberiirkncwn)g /L7 ` ’:/ § S°’):§ /"C“Q

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FtrstNeme ' Middie Name tastNanie
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5_ $
6_ Utilities:
ea. Electricity, heat, natural gas ea_ $ ? “ 0 0
l
ab_ Water, sewer, garbage collection 6b. $ 153 C} f § § C:>
ec. `l'elephone, cell phone, lnternet, satellite, and cable services 6c. $ § ' 0 ‘ -)
ed_ Other. Specify: cd_ $
7_ Food and housekeeping supplies 7_ $ 5(~? m O 63
8_ Childcare and children’s education costs 8_ $
9. Clothing, laundry, and dry cleaning 91 $
10. Personal care products and services 10. $
11. Medical and dental expenses 11. $
12. Transportation. lnclude gas, maintenance, bus or train fare. $
Do not include car payments 12_
13_ Entertainment, clubs, recreation, newspapers, magazines, and books 13_ $
14. Charitable contributions and religious donations 14. $
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance 15a. $
15b. Health insurance 15b. $
15c. Vehicle insurance 150. $
15d. Other insurance Specify: 15d. $
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. 5
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a_ $
17b. Car payments for Vehicle 2 17b. $
17c, Other. Specify: 17c. $
i7d_ Other. Specify: 17d. $
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Yourlncome (Official Form 106l). 18. $
19. Other payments you make to support others who do not live with you.
Specify: 19. $
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Yourlncome.
20a Mongages on other property 20a. $
zob. Rea| estate taxes zob. $
20<:. Property, homeowner’s, or renter’s insurance 20c. $
20d. l\/laintenance, repair, and upkeep expenses 20d_ $
20e. Homeowner’s association or condominium dues 20e. $

 

Officia| Form 106J Schedule J: Your Expenses page 2

 

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twwa /L/:}']Zki]?’£a i/}Z!'V€ /\j"y/€?{<qg/[% Case number (ifimmvn)l©) M / § _` ?/..?)¢; BMA?C:E:?

 

First Name Middle Name Last Name

21. Other, Specify:

 

22. Calcu|ate your monthly expenses.
22a Add lines 4 through 21.
22b. Copy line 22 (month|y expenses for Debtor 2), if any, from Oficial Form 106J-2

22c. Add line 223 and 22b. The result is your monthly expenses

23. Calcu|ate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

n No.
n Y€S~ Explain here:

Ofticial Form 106J Schedule J: Your Expenses

21.

22a.

22b.

220.

23a.

23b.

23c.

'*'$

 

 

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$Aé{)“i " /(`

 

 

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v

_$ 553 §§ ~ /<~'Z‘

 

 

s"’:l[ 3b1 *'"W?

 

 

page 3

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Fill in this information to identify your casey

Debtor1 Z::/£,/F)/‘i 576 !NE f)l/":I/"l/l€`v y

First Name Middie Name Last Name

Debtor 2
(Spouse, if Gling) Firsl Name middle Name LascName.\,

Uniled States Bankruptcy Court for the:;*;?)?!l~‘glg¢ Dislricl Of ij
Case number F)) "~/ ""7` "` q / :"7) :;)-'2) "’" if CC:“?`

(if known)

 

 

 

Official Form iO@Dec

 

Entered 04/02/19 11200:25

ll] Check ifthis is an
amended filing

Declaration About an |ndividual Debtor’s Schedules 12/15

 

|f two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Be|ow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No

n Yes. Name of person . Attach Bankruptcy Petition Preparefs Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

x illiqu QOJWJH` x

 

Signature of Debtor 1 Signature of Debtor 2
/ /
Date 6 q © la 1()[ Date
MM/ DD / YYvY MM/ DD l YYY¥

 

Oflicial Form 10SDec Declaration About an individual Debtor’s Schedu|es

